Case 4:13-cr-00057-BSM Document 34 Filed 02/26/14 Page 1 of 7
Case 4:13-cr-00057-BSM Document 34 Filed 02/26/14 Page 2 of 7
Case 4:13-cr-00057-BSM Document 34 Filed 02/26/14 Page 3 of 7
Case 4:13-cr-00057-BSM Document 34 Filed 02/26/14 Page 4 of 7
Case 4:13-cr-00057-BSM Document 34 Filed 02/26/14 Page 5 of 7
Case 4:13-cr-00057-BSM Document 34 Filed 02/26/14 Page 6 of 7
Case 4:13-cr-00057-BSM Document 34 Filed 02/26/14 Page 7 of 7
